          Case 16-25353          Doc 98       Filed 12/09/21 Entered 12/09/21 10:19:51                    Desc Main
                                                Document Page 1 of 2
                                   IN THE UNITED STATES BANKRUPTCY COURT
                                        NORTHERN DISTRICT OF ILLINOIS
                                               EASTERN DIVISION

In re: Michelle Y Powell                                         )        Case no. 16-25353
                                                                 )
                                                                          Chapter 13
                                                                 )
                                               Debtor            )        Judge: A. Benjamin Goldgar
                                                                 )

                               NOTICE OF MOTION AND CERTIFICATE OF SERVICE

      Michelle Y Powell                                                       Joseph P Doyle
      1649 E 50Th St #20E                                                     105 S Roselle Rd #203
      Chicago, IL 60615                                                       Schaumburg,IL 60193


     Please take notice that on Friday, January 7, 2022 at 9:15 am, a representative of this office shall appear
     before the Honorable Judge A. Benjamin Goldgar, or any judge sitting in that judge 's place, and present the
     Trustee's motion a copy of which is attached.

     This motion will be presented and heard electronically using Zoom for Government . No personal
     appearance in court is necessary or permitted. To appear and be heard on the motion, you must do the
     following:

     To appear by video, use this link: https//www.zoomgov.com/join. Then enter the meeting ID and password.

     To appear by telephone, call Zoom for Government at 1-669-254-5252 or 1-646-828-7666. Then enter the
     meeting ID and password.

     Meeting ID and password. The meeting ID for this hearing is 160 817 7512 and the passcode is 623389.
     The meeting ID and passcode can also be found on the judge 's page on the court's web site.

     If you object to this motion and want it called on the presentment date above, you must file a Notice of
     Objection no later than two (2) business days before that date. If a Notice of Objection is timely filed, the
     motion will be called on the presentment date. If no Notice of Objection is timely filed, the court may grant the
     motion without a hearing.

     I certify that this office caused a copy of this notice to be delivered to the above listed debtor by depositing it in
     the U.S. Mail at 801 Warrenville Road, Lisle, IL and to the debtor 's attorney electronically via the Court's
     CM/ECF system on Thursday, December 9, 2021




      Glenn Stearns, Chapter 13 Trustee                                  /s/ Alyssa Ruan
      801 Warrenville Road, Suite 650                                    For: Glenn Stearns, Trustee
      Lisle, IL 60532-4350
      Ph: (630) 981-3888
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In re: Michelle Y Powell                                    )       Case no. 16-25353
                                                            )
                                                                    Chapter 13
                                                            )
                                            Debtor          )       Judge: A. Benjamin Goldgar
                                                            )



                           MOTION TO DISMISS FOR FAILURE TO MAKE PLAN PAYMENTS



    Now comes Glenn Stearns, Chapter 13 Trustee, and requests dismissal of the above case pursuant to Section
    1307(c)(6), and in support thereof, states the following:

    1. The debtor filed a petition under the Bankruptcy Code on August 08, 2016.
    2. The debtor's plan was confirmed on February 03, 2017.

        A Summary of the debtor's plan follows:

        Monthly Payment:          $923.00                       Last Payment Received:        August 19, 2021

        Amount Paid:           $45,575.25                       Amount Delinquent:                 $3,692.00


    WHEREFORE, the Trustee prays that this case be dismissed for material default by the debtor with respect to the
    term of a confirmed plan, pursuant to Section 1307 (c)(6).




                                                                    Respectfully Submitted;

      Glenn Stearns, Chapter 13 Trustee                             /s/ Glenn Stearns
      801 Warrenville Road, Suite 650                               For: Glenn Stearns, Trustee
      Lisle, IL 60532-4350
      Ph: (630) 981-3888
